Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 1 of 11 PageID #: 6
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 2 of 11 PageID #: 7
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 3 of 11 PageID #: 8
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 4 of 11 PageID #: 9
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 5 of 11 PageID #: 10
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 6 of 11 PageID #: 11
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 7 of 11 PageID #: 12
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 8 of 11 PageID #: 13
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 9 of 11 PageID #: 14
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 10 of 11 PageID #: 15
Case 2:20-cv-00597-JDC-KK Document 1-2 Filed 05/12/20 Page 11 of 11 PageID #: 16
